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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                                Judge Raymond P. Moore

 Civil Action No. 20-cv-03202-RM-STV

 JAMES ARTHUR FAIRCLOTH,

        Plaintiff,

 v.

 CDOC, et al.,

       Defendants.
 ______________________________________________________________________________

                                    ORDER
 ______________________________________________________________________________

        This matter is before the Court on Plaintiff’s “Motion for Voluntary Dismissal” under

 Fed. R. Civ. P. 41 (ECF No. 81), requesting his action be dismissed without prejudice because he

 has now received his first dose of the Moderna vaccine and will be receiving his second dose

 shortly. Because Defendants have not filed an answer or a motion for summary judgment,

 Plaintiff may voluntarily dismiss his action without prejudice without a court order. See Fed. R.

 Civ. P. 41(a)(1)(A)(i). Thus, the Court construes the Motion as a notice of dismissal without

 prejudice and directs the Clerk to close this case.

        DATED this 23rd day of March, 2021.

                                                       BY THE COURT:



                                                       ____________________________________
                                                       RAYMOND P. MOORE
                                                       United States District Judge
